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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 ANDRE RICHARDSON, AKA ANDREA
 RICHARDSON,

                         Plaintiff,
                                                     Case No. 16-cv-00209 (CRC)
                         v.

 WILLIAM J. SMITH, et al.,

                         Defendants.

                                       SCHEDULING ORDER

       Upon consideration of the Parties’ Joint Rule 16.3 Meet and Confer Statement, it is hereby

ORDERED that:

       1. Discovery in this case shall proceed according to the following schedule:

                Motion to Add Parties or Amend Pleadings             On or before August 22, 2016

                Initial Disclosures                                  On or before September 15, 2016

                Proponent’s Expert Disclosures                       On or before November 21, 2016

                Opponent’s Expert Disclosures                        On or before January 5, 2017

                Close of Discovery                                   February 10, 2017

                Post-Discovery Conference                            February 13, 2017 at 10:00 a.m.

       2.       The parties shall be limited to no more than ten (10) depositions, no more than

twenty-five (25) interrogatories, and no more than twenty-five (25) requests for admission per side.

       3.       No discovery motions may be filed without leave of the Court. In the event that a

discovery dispute arises, the parties shall make a good faith effort to resolve or narrow the areas of

disagreement. If the parties are unable to resolve the discovery dispute, the parties shall jointly call

chambers at (202) 354-3480 to arrange for a telephone conference with the Court. The Court will

either rule on the issue at the conclusion of the telephone conference or determine the manner in
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which it will be handled. At least twenty-four (24) hours before jointly calling chambers, the

parties may be required to file with the Court a brief Joint Notice of Discovery Dispute

summarizing the parties’ respective positions.

        4.       Parties may not extend deadlines by stipulation. Parties must seek extensions by

motion.

        5.       The Court will hold a post-discovery status conference, at which it will set a

schedule for summary judgment briefing, if necessary. The parties are directed to Local Civil Rule

7(h) regarding the requirements for motions for summary judgment and oppositions. Parties shall

provide courtesy copies of any document constituting, supporting, or opposing a dispositive motion

if said document, together with its exhibits, attachments, declarations, and affidavits, is over one

hundred (100) pages.

        SO ORDERED.




                                                               CHRISTOPHER R. COOPER
                                                               United States District Judge

Date:            July 21, 2016




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